 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Jesse James White, Jr.
                       __________________________________________________________________

 Debtor 2               Marilynn  Coleman White
                        ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Northern     District
                                                  District     of __________
                                                           of Alabama

 Case number            18-71279-JHH
                        ___________________________________________




2IILFLDO)RUP 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                    U.S. Bank Trust National Association,
                    as Trustee of Cabana Series III Trust
 Name of creditor: _______________________________________                                 Court claim no. (if known): 11
                                                                                                                       __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                            4 ____
                                                          ____ 7 ____
                                                                   0 ____
                                                                       3

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 ✔
       No
       Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                         Dates incurred                                     Amount

  1. Late charges                                                         _________________________________           (1)    $ __________
  2. Non-sufficient funds (NSF) fees                                      _________________________________           (2)    $ __________
  3. Attorney fees                                                        _________________________________           (3)    $ __________
  4. Filing fees and court costs                                          _________________________________           (4)    $ __________
  5. Bankruptcy/Proof of claim fees                                       _________________________________           (5)    $ __________
  6. Appraisal/Broker’s price opinion fees                                _________________________________           (6)    $ __________
  7. Property inspection fees                                             _________________________________           (7)    $ __________
  8. Tax advances (non-escrow)                                            09/23/2019
                                                                          _________________________________           (8)    $ __________
                                                                                                                                9,562.74
  9. Insurance advances (non-escrow)                                      _________________________________           (9)    $ __________
 10. Property preservation expenses. Specify:_______________              _________________________________          (10)    $ __________
 11. Other. Specify:____________________________________                  _________________________________          (11)    $ __________
 12. Other. Specify:____________________________________                  _________________________________          (12)    $ __________
 13. Other. Specify:____________________________________                  _________________________________          (13)    $ __________
 14. Other. Specify:____________________________________                  _________________________________          (14)    $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1

      Case 18-71279-JHH13                        Doc      Filed 11/22/19 Entered 11/22/19 11:38:42                          Desc Main
                                                          Document     Page 1 of 5
Debtor 1     Jesse        James         White, Jr.
             _______________________________________________________                                          18-71279-JHH
                                                                                          Case number (if known) _____________________________________
             First Name       Middle Name              Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  ✔ I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            8 /s/Frederick S. Hecht
                 __________________________________________________
                 Signature
                                                                                          Date     11/22/2019
                                                                                                  ___________________




 Print:           Frederick            S.               Hecht
                 _________________________________________________________                Title   Attorney
                                                                                                  ___________________________
                 First Name                      Middle Name       Last Name



 Company          Bleecker, Brodey and Andrews
                 _________________________________________________________



 Address          9247 N. Meridian Street, Suite 101
                 _________________________________________________________
                 Number                 Street
                  Indianapolis                    IN      46260
                 ___________________________________________________
                 City                                              State       ZIP Code




 Contact phone    317-574-0700
                 _______________________                                                         bankruptcy@bbanda.c
                                                                                          Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 2

     Case 18-71279-JHH13                            Doc        Filed 11/22/19 Entered 11/22/19 11:38:42                         Desc Main
                                                               Document     Page 2 of 5
                                            Certificate of Service

        This is to certify that a true and accurate copy of this pleading was served on all creditor and all
parties of interest by electronic media or placing a copy in the U.S. Mail on November 22, 2019, at the
addresses listed below: Debtor's Attorney, Kathryn Lila Bettis, via email at notices@bettisllc.com; Chapter
13 Trustee, C. David Cottingham, at 701 22nd Avenue, Suite 4, Tuscaloosa, AL 35402; Debtors, Jesse
James White, Jr and Marilynn Coleman White, at 3001 47th Ave East, Tuscaloosa, AL 35405.

By: /s / Frederick S. Hecht
Date: November 22, 2019




Case 18-71279-JHH13            Doc     Filed 11/22/19 Entered 11/22/19 11:38:42                     Desc Main
                                       Document     Page 3 of 5
                                                                        Tax Status Report - BSISPECLM
                                                                             BSI FINANCIAL 18290

Loan Number:        6031461514703             Borrower Name:       JESSIE J WHITE                                Situs Address:
Contract Number:       48761403                           Service Type:     B                                    1708 MONTROSE DR
                                                                                                                 TUSCALOOSA, AL 354053651
Vendor Payee:       010630000      Agency:    010630000        Type: COUNTY
TUSCALOOSA COUNTY
Tax ID:            Hit Code:
63-36-01-02-3-002-003.023                                                                          Last Month to Redeem:                    Severity Code: 0

      Annual Tax Information               Installment Breakdown                Comments:
Annual Tax Year:                  2019       $1,105.19    12/31/2019
Annual Base Amt:              $1,105.19




Current Year Information
Payable to: TUSCALOOSA COUNTY                                                                                  Payment Posted Through Date:             09/09/2019
2054648230                                                                                    Amount to pay:                   Good Through:
714 GREENSBORO AVE #124
                                                                                              Amount to pay:                   Good Through:
TUSCALOOSA, AL 35401-1872


 Tax Year            Installment             Base Tax Amount            Delq. Date                    Status              Bill Number               Type
   2019                   1                        $1,105.19            12/31/2019                    OPEN




Comments:
2019 TAXES OPEN. POSTMARK: YES SOURCE: MOLISA.




  Prior Year Information
Payable to: TUSCALOOSA COUNTY
2054648230                                                                           Year at Risk:        2018 Payment Posted Through Date:             09/09/2019
714 GREENSBORO AVE #124                                                                       Amount to pay:       $8,457.55   Good Through:            10/31/2019
TUSCALOOSA, AL 35401-1872
                                                                                              Amount to pay:                   Good Through:

 Year(s)     Status     1st Instal.       Status   2nd Instal.     Status       3rd Instal.      Status     4th Instal.    Base Amt.         Cert. #        Type
  2013       0          $1,002.19                                                                                          $1,002.19
  2014       0          $972.32                                                                                            $972.32
  2015       0          $972.31                                                                                            $972.31
  2016       0          $972.32                                                                                            $972.32
  2017       0          $962.02                                                                                            $962.02
  2018       0          $1,066.05                                                                                          $1,066.05




Comments:
BK: YES FUNDS: MTG TAXSALE: NO. LDR: DETERMINED WHEN BK DISMISSED.
BK INFO N/A. ALL PRIORS PD THRU 2012.
POSTMARK: YES SOURCE: MOLISA.




48761403    18290    6031461514703                                                                                                       Order Date:    08/29/2019
                                                                                                                                        Extract Date:   09/11/2019
              Case 18-71279-JHH13                    Doc         Filed 11/22/19 Entered 11/22/19 11:38:42                               Desc Main
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                                                                        Tax Status Report - BSISPECLM
                                                                             BSI FINANCIAL 18290

Loan Number:        6031461514703             Borrower Name:       JESSIE J WHITE                                Situs Address:
Contract Number:       48761403                           Service Type:     B                                    1708 MONTROSE DR
                                                                                                                 TUSCALOOSA, AL 354053651
Vendor Payee:       010630000      Agency:    010630000        Type: COUNTY
TUSCALOOSA COUNTY
Tax ID:            Hit Code:
63-36-01-02-3-002-003.023                                                                          Last Month to Redeem:                    Severity Code: 0

      Annual Tax Information               Installment Breakdown                Comments:
Annual Tax Year:                  2019       $1,105.19    12/31/2019
Annual Base Amt:              $1,105.19




Current Year Information
Payable to: TUSCALOOSA COUNTY                                                                                  Payment Posted Through Date:             09/09/2019
2054648230                                                                                    Amount to pay:                   Good Through:
714 GREENSBORO AVE #124
                                                                                              Amount to pay:                   Good Through:
TUSCALOOSA, AL 35401-1872


 Tax Year            Installment             Base Tax Amount            Delq. Date                    Status              Bill Number               Type
   2019                   1                        $1,105.19            12/31/2019                    OPEN




Comments:
2019 TAXES OPEN. POSTMARK: YES SOURCE: MOLISA.




  Prior Year Information
Payable to: TUSCALOOSA COUNTY
2054648230                                                                           Year at Risk:        2018 Payment Posted Through Date:             09/09/2019
714 GREENSBORO AVE #124                                                                       Amount to pay:       $8,457.55   Good Through:            10/31/2019
TUSCALOOSA, AL 35401-1872
                                                                                              Amount to pay:                   Good Through:

 Year(s)     Status     1st Instal.       Status   2nd Instal.     Status       3rd Instal.      Status     4th Instal.    Base Amt.         Cert. #        Type
  2013       0          $1,002.19                                                                                          $1,002.19
  2014       0          $972.32                                                                                            $972.32
  2015       0          $972.31                                                                                            $972.31
  2016       0          $972.32                                                                                            $972.32
  2017       0          $962.02                                                                                            $962.02
  2018       0          $1,066.05                                                                                          $1,066.05




Comments:
BK: YES FUNDS: MTG TAXSALE: NO. LDR: DETERMINED WHEN BK DISMISSED.
BK INFO N/A. ALL PRIORS PD THRU 2012.
POSTMARK: YES SOURCE: MOLISA.




48761403    18290    6031461514703                                                                                                       Order Date:    08/27/2019
                                                                                                                                        Extract Date:   09/11/2019
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